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                              UNITED STATES DISTRICT COURT                                               I
                              SOUTHERN DISTRICT OF FLORIDA                                               I
                                   Case No. 22-CR-20102-SCOLA                                            \
   UNITED STATES OF AMERICA

   vs.

   KENSY GARCIA TORRES,
                                                                                                         I
                                                                                                         I;

                         Defendant.                                                                      '
                                                                                                         i,



   - - - - - - - - - - - - - - -I
                 STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

          If this matter were to proceed to trial, the Government would prove the following facts

   beyond a reasonable doubt. The Parties agree that these facts, which do not include all facts known

   to the Government and the Defendant, KENSY GARCIA TORRES, are sufficient to prove the

   guilt of the Defendant to the above-referenced Indictment:

          As to Count One, co-conspirator and undercover agent testimony, paired with

   corroborating evidence, would show that between October 2018 and July 2019, a group of

   individuals conspired together with the Defendant to engage in a series of transactions to benefit

   narcotics trafficking co-conspirators in their laundering of drug money. Specifically, on or about

   December 13, 2018, the Defendant contacted a confidential human source ("CHS") working for

   the Federal Bureau of Investigation and advised that a co-conspirator would soon be contacting

   him/her to commence the laundering of money.          The Defendant provided the CHS with a

   breakdown of the commissions and advised that the CHS would profit 1%, the CHS' s company

   would receive 4% and that a total of 7% would be divided between the Defendant, a co-conspirator,

   and a female associate of the Defendant.
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            The Defendant and the co-conspirators repatriated the profits from the drug trade, moving

   money from the U.S. back to Honduras. The Defendant was aware that the money involved in the

   transactions was proceeds of narcotics trafficking activities and that the transactions were

   occurring in a way to hide the fact that it was proceeds of narcotics trafficking activities.

            The evidence would show that, among other things, five bulk cash deliveries were made in

   the U.S. and the money was wired back to Honduras via U.S. bank accounts and/or taken back to

   Honduras via human couriers. The Defendant received commission payments after the bulk cash

   deliveries. During the Defendant's time in the conspiracy, approximately $ 1,804,407.27 was

   laundered, and Defendant and associates received approximately $121,382.00 in commissions.

            The parties agree that these facts are sufficient to prove the Defendant's guilt of Count One

   of the Indictment beyond a reasonable doubt.



                                                    JUAN ANTONIO GONZALEZ
                                                    UNITED STATES ATTORNEY


   Date:    '5)19 laa              By:
                                                     CHRISTINE HERN NDEZ
                                                     ASSISTANT U.S. AT ORNEY


   Date:     r,
           5/tq/1-'L                      By:

                                                     ATT


   Date:   ,r)jQ\ 1- l             By:
                                                     KENSY ~ORRES
                                                     DEFENDANT




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